  Case 17-37321      Doc 41    Filed 02/15/19 Entered 02/19/19 17:31:53               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:      17-37321
Roderick M Young                            )
                                            )               Chapter: 13
                                            )
                                                            Honorable Janet S. Baer
                                            )
                                            )
               Debtor(s)                    )

                               ORDER DISALLOWING CLAIM #7

       This matter coming on the Trustee's Objection to Claim, proper notice given and the court being
advised in the premises;



IT IS HEREBY ORDERED:



1) The proof of claim is disallowed.




                                                        Enter:


                                                                 Honorable Janet S. Baer
        February 15, 2019                                        United States Bankruptcy Judge

 Prepared by:
 Glenn Stearns Chapter 13 Trustee

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 (630-981-3888)
